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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION

                              CASE NO. 23-80101-CR-CANNON(s)


  UNITED STATES OF AMERICA,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                                       NOTICE OF FILING

         The Government hereby gives notice that it has filed the Government’s Fourth Classified

  Ex Parte, In Camera, Under Seal Supplement to Motions for an Order Pursuant to CIPA Section

  4 and Fed. R. Crim. P. 16(d)(1) with the Court by delivering it to the Classified Information

  Security Officer (“CISO”) in Fort Pierce, Florida on June 13, 2024. An unclassified cover sheet

  for the Supplement is attached hereto.

                                             Respectfully submitted,

                                             JACK SMITH
                                             Special Counsel

                                       By:   /s/ Jay I. Bratt
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                                     David V. Harbach, II
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                                 CERTIFICATE OF SERVICE

        I certify that on June 13, 2024, I electronically filed the foregoing document with the Clerk

  of Court using CM/ECF.


                                              s/ Julie A. Edelstein
                                              Julie A. Edelstein




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